                           Case 1:21-cv-00892-RP Document 18 Filed 04/05/22 Page 1 of 5

     RECEIVED
        April 05, 2022
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS           UNITED STATES DISTRICT COURT
                JMV
BY:_______________________________
                                       WESTERN DISTRICT OF TEXAS
                        DEPUTY
                                             AUSTIN DIVISION
                                                                                   FILED
                                                                                April 05, 2022
                                                                            CLERK, U.S. DISTRICT COURT
                                                                            WESTERN DISTRICT OF TEXAS
            Kimberly D. Hogan Pro se                                                     JMV
                                                                         BY: ________________________________
            Plaintiff                                                                            DEPUTY




                                                           CASE NUMBER: 1:21-CV-00892-RP-ML



            Aspire Financial, Inc. D/B/A Aspire Lending
            and Council Donald E. Uloth
            Defendant’s



                Plaintiff Hogan's OBJECTION to Wrongful Dishonorable and
             FRAUDULENT Suggested Dismissal of her Case by Magistrate Judge
                                       Mark Lane




            1. Plaintiff:
            Plaintiff: Kimberly D. Hogan Pro se
            10015 Lake Creek Pkwy. #621
            Austin, Texas 78729
            kdhogan@ymail.com
            (303)246-1587


            2. Defendants:
            Defendant: Aspire Financial, Inc. d/b/a Aspire Lending
            4100 Alpha Rd. Suite 300
            Dallas, Texas 75244
            (877)325-2009



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Defendant’s Counsel: Donald E. Uloth

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Clerk of the Court: Felicia Pitre

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Plaintiff Kimberly D. Hogan is Filing this Notice of Objection to the Ludicrous and Abusive
suggestion by Mark Lane that Her Case is Frivolous and Factually Insufficient.




   1.   Plaintiff Kim Hogan asked for a Jury Trial, NOT a Fact Finding Trial by a Lone Judge.
        Mark Lane is NOT empowered to be a FACT FINDER.
   2. Stripping Court Filings and making Evidence Exhibits Disappear from the Court Dockets
        is a CORRUPT a Court Practice as any. Fraud By Courts Judges, their Clerks, and in this
        case Instance E File and Tyler Technologies for IGNORING AND STRIPPING
        EVIDENCE AND EXHIBITS is an obvious denial of The 14th Amendment Equal
        Protection and Due Process of Law, and a Blatant Violation to 18 U.S. Code 1512 (c).
        Mark Lane is FULL of Beans on His wholly untrue Claim that I have Not Stated a
        Colorable, Justifiable Cause Of Action.
   3. At this time, because ZERO Discovery has yet been permitted, this Case is NOT Suitable
        for a 12b 6 Dismissal For failure to state a claim nor is the cause ripe for a Rule 56
        Summary Judgment Dismissal.
   4.   It appears that Mark Lane’s recommendations are purely Prevarication on His Part and is
        Tantamount to an Independent Cause of Action against Him for COURT STRIPPING
        Your Plaintiff Kim Hogan for Her Due Process and Equal Protection Rights.
   5. Mark Lane is NOT allowed to Judge Facts nor is Mark Lane allowed to Prevaricate by
        His WHOLLY LUDICROUS CLAIM that No Colorable Cause of Action exists for
        Fraudulent Manipulation and Stripping of EVIDENCE filed in the Courts Below. It
        appears that Mark Lane is using the Pro Se Screening Process as a Bludgeon to deny
        Your Plaintiff any semblance of Due Process before the Courts.
   6. DISCOVERY is warranted at this Early Pleading Stage of this Case as Rule 8 Notice
        Pleadings are still the Rule. It appears that Mark Lane is IMPROPERLY Imposing
        Heightened Pleading Standards per FRCP 9 and is in fact acting as Defense Counsel for
        the Defendants as His Recommendations that this cause by dismissed are simply
        FRAUDULENT.
   7.   IGNORING and Refusing your Plaintiff's Above and Beyond IRREFUTABLE
        INDISPUTABLE PROVEN FACTS Evidence and Exhibits Clearly


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Contained in her Claim is a Blatant Denial of Due Process and Equal Protection that
Violates the UDHR and International Law.




                                                            /s/ Kimberly D. Hogan
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                                                    10015 Lake Creek Pkwy. #621
                                                               Austin, Texas 78729
                                                                     (303)246-1587
                                                              kdhogan@ymail.com



                               April 5th, 2022




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